                             Case 8:14-cr-00083-GJH Document 150 Filed 07/09/15 Page 1 of 6                                                  Jutlgllll'nl I'agl' 1 of h
Sheet I - .IudgmClll    in a Criminal Case with Supervised Release (Rc\.   1 I/:!OII)
                                                                                                                                             Jel

                                               United States District Court
                                                                  District of Maryland
               UNITED STATES OF AMERICA                                                 ,JUDGMENT IN A CRIMJNAL CASE
                                                                                        (For OITenses Committed on or Alier November I. 1987)
                                          v.
                                                                                        Case Number: GJH-8-14-CR-00083-00                I
                  ANTONIO LAMAR COOPER
                                                                                        USM Number: N/A
                                                                                        Defendant" s Attorney: Mare Hall

                                                                                        Assistant U.S. Attorney: Michael Packard/Daniel
                                                                                        Gardner


THE DEFENDANT:
o pleaded guilty to count(s) 2 and 5 of the Superseding Indictment
o pleaded nolo contendere to count(s) __ ' which was accepted by the court.
o was found guilty on count(s) __ after a plea of not guilty.
                                                                                                                   Date                               Count
            Title & Section                                       Natllre of Offellse                      Offellse COllcillded                    NUlllh(.'r(s)


           18 U.s.C.~1951(a)                        Interference with Interstale Commerce by                   01/15/2014                                 2
                                                                     Robbery
        18 U.s.c.~n4(c).    18                        Usc. Carry. Brandish. and Discharge a                    01/1512014                                 5
       U.S.c.n4(c)(   I)(A)(iii)                  Firearm During and in Relation to a Crime          or
                                                                     Violence

    The defendant is adjudged guilty of the offenses listed above and sentenced as provided in pages 2
through    6    of this judgmcnt. The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as
modified by U.S. v. Booker. 125 S. Ct. 738 (2005).

o The defendant has been found not guilty on count(s) __
o Count(s) 1.2.3 of thc Original Indictment and Is. 3s. and 4s of the Superseding Indictment are dismisscd
      on the motion of the Unitcd States.

    IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name. residence. or mailing address until all tines. restitlllion. costs. and spccial
assessments imposed by this judgment are fully paid.

                       -_-.JRlED -_          ...•
                                               ENTERED
                       -_--J"lXll!ED -_...JI£CEMD

                              JUL -.92015,L...
                                  AT8l&NU£lT       ~                                     George .I. Hazel                         Date
                            c:a5JIl \1.1. .-nllCT COlJRT                                 United States District Judge
                               1lIItlIllT0f'~
                                                        D£ourv

Name of Court Reporter:              Linda Marshall            (30 I )344.3229
                         Case 8:14-cr-00083-GJH Document 150 Filed 07/09/15 Page 2 of 6

Shccl2 - Judgl1lcnl in <ICriminal Case \\ ilb Supcf\'ised Rdease (Re\".   r 112011 )

DEFEN()ANT: ANTONIO LAMAR COOPER                                                                         CASE NUMBER: GJII-8-14-CR-00083-001



                                                                    IMPRISONMENT


    The defendant is hereby committed to the custody of thc United States Bureau of Prisons to bc imprisoncd
for a total term of 241        months (121 months as to Count 2 and 120 months as to Count 5 to rUIl
consecutively).

IZI The court makes the following                    rccol11mcndations                 to thc Bureau of Prisons:

           That     the defendant          he designated          to the FeI at Allentown,                I' A for service of his or her sentence.

IZI The defendant           is remanded         to the custody of the Unitcd States Marshal.

D The defendant shall surrender to the United States Marshal for this district:

     D at __      a.m.lp.l11. on __  '
     D as notified by thc United States Marshal.

D The defendant shall surrender. at his/her own expense. to the institution designated by the Bureau of Prisons
     at the date and tinie specified in a written notice to be sent to the defendant by the United States Marshal. II'
     the defcndant docs not receive such a written notice. defcndant shall surrender to the United States rvlarshal:

     D bel(Jre 2 p.m. on __                    "

A defendant    who fails to report either to the designated     institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.C ~3146. If convicted of an offense wbile on
release, the defendant     shall be subject to the penalties set forth in 18 U.S.C ~3I47.    1'01" violation of a
condition of release, the defendant shall be subject to the sanctions set forth in Title 18 U.S.C ~3148. Any
bond or property     posted may be forfeited and judgment      entered against the defendant  and the surety in
the full amount of the bond.

                                                                               RETURN

I bave executed         this judgment          as follows:

     Defcndant        delivered      on __           to __         at __           ' with a certificd copy ofthisjudgmcn1.




                                                                                   UNITED STATES           MARSIIAL


                                                                                   By:                                                           _
                                                                                   DEPUTY        U.S. MARSHAL
                          Case 8:14-cr-00083-GJH Document 150 Filed 07/09/15 Page 3 of 6
Sheet 3 - Judgmellt in a Criminal Case \\ iIh Super\'ised   Rdease (Rc\'. 1112011)                                       Judgment Page 3   llf   6

DEFENl>ANT: ANTONIO LAMAR COOPER                                                             CASE NUMBER: GJH-8-14-CR-00083-001


                                                               SUPERVISED RELEASE

   Upon release from imprisonment. the defendant shall be on supervised                         release for a term of   :2 vears as to
Count :2 and 5 years as to Count 5 to run concurrentlv.

The defendant            shall comply with all of the following conditions:

    The defendant shall report to the probation office in the district to which the defendant                      is released within 72
hours of release from the custody of the Bureau of Prisons.

                                 A.      STATUTORY                 CONDITIONS        OF SUPERVISED   RELEASE
1) The defendant shall not commit any federal. state or local crime.
2) In any felony case. the defendant shall not possess a firearm or ammunition as defined in 18 U.S.c. *921.
3) The defendant shall not illegally usc or possess a controlled substance.
4) The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic
   drug tests thereafter. as directed by the probation officer.
o The above drug testing condition is suspended based on the cOlll1's determination that the delendant poses a low risk
   of li,ture Sllhstance abuse. (Check. if applicable.)
5) Pursuant to Pub. Law 108-405. Revised DNA Collection Requirements Under the .Iustice f()J' All Act of 2004. if
   applicable. the delendant shall cooperate in the collection of DNA while incarcerated in the Bureau of Prisons. or as
   directed by the probation omcer.
6) If this judgment imposes any criminal monetary penalty. including special assessment. line. or restitution. it shall be a
   condition of supervised release that the delendant pay any such monetary pcnalty that remains unpaid at the
   commencement of the term of superviscd release in accordance with the Schedule of Payments set forth in the
   Criminal Monetary Penalties sheet of this judgment. The defendant shall notif~' the eOUl1of any material change in
   the defendant's economic circumstances that might affect the delendant's ahility to pay restitution. fines. or special
      nsseSSl11ents.


                                    B.       STANDARD CONDITIONS OF SUPERVISION
I) The defendant shaD not leave the judicial district without the permission of the court or probation ollicer:
2)    Thc dcfendant shall report 10 the probation onicer in a manner and frcqucncy directed by Ihe court or probation officer:
3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions orthe probation orncer:
4)    The defendant shall support his or her dependents and meet other tlllnily responsibilities:
5)    The defendant shaD work regularly at a lawful occupa'ion unless excused by ,he probation oflicer for schooling. training. or other
      acceptable reasons:
6)    The defendant shall notify the probation onicer ten days prior to an:' change ill residence or employment:
7)    The defendant shall retrain from excessive use of alcohol:
8)    The defendant shall not frequent places where controlled substances arc illegally sold. used. distributed. or administered:
9)    The defendant shall not associate \\lith any persons engaged in criminal activity. and shall not associate \\:illl any pt.'r~nns
      convicted ofa felony unless granted permission to do so by the probation ol1iccr;
10)   The defendant shall permit a probation omccr to visit him or her at any time at home or elsewhere ano shall permit confiscation
      orany contraband observed in plain vicw of the probation officer:
11)   The defendanl slmll notify the probation ollieer within 72 hours of being arrested or questioned by a law enforcement officer:
12)   The defendant shall notify the probation officer within 72 hours of being charged with any offense. including a traffic offense:
13)   The defendant shall not enter inlO any agreement to ael as an informer or special agent or a law enforcement agency wilhout the
      permission oflhe court;
14)   As directed by the probation anicer. the defendant shall notit~' third parties of risks that may be occasioned by the dclcndant"s
      criminal record or personal history or characteristics. and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance \\lith such notification requirement.
                          Case 8:14-cr-00083-GJH Document 150 Filed 07/09/15 Page 4 of 6

Shl,.'et.t - Judgment in a Criminal Case with Supl,.'r\'ised Release (Re\'. (112011)

DEFENDANT: ANTONIO LAMAR COOPER                                                                            CASE NUMBER: GJII.8.1-I-CR-00083.()()      I


                                                          C. SUPERVISED RELEASE
                                                          ADDITIONAL CONDITIONS

SUBSTANCE ABUSE
     I:8J The defendant shall satis!actorily participate in a treatment program approved by the probation oflicer
          relating to substance and/or alcohol abuse. which may inelude evaluation. counseling. and testing as
          deemed necessary by the probation ot1icer.

EDUCATIONALIVOCA T10NAL TRAINING
     I:8J The defendant shall satis!actorily                       participate         in a vocational   or educational   program   as directed    by the
          probation oftieer.

ACCESS TO FINANCIAL INFORMATION
     I:8J The defendant            shall provide the probation                 ot1ieer with access to any requested        financial in!(lfInation.



CREDIT RESTRICTION
     I:8J The defendant shall not incur new credit charges                                  or open additional   lines of credit without approval         of
          the probation officer.

SPECIAL ASSESSMENT
      I:8J The defendant              shall pay a special assessment                    fee in the amount of $200.00. immediately.

RESTITUTION
        I:8J [t is further ordered that the defendant make restitution in the amount of $450.55. Restitution should
be made payable to the Clerk. U.S. District Court. 6500 Cherrywood Lane. Greenbelt. Maryland 20770. I()r
disbursement to the victim. The defendant shall make restitution payments from any wages he may earn in
prison in accordance with the Bureau of Prisons Financial Responsibility Program. Any portion of the
restitution that is not paid in full at the time of the defendant's release from imprisonment shall become a
condition of supervision. and he shall pay restitution at the rate of at least $100.00 per month. The defendant
shall notify the United States Attorney for this district within 30 days of any change of mailing or residence
address that occurs while any portion of the restitution remains unpaid.
                          Case 8:14-cr-00083-GJH Document 150 Filed 07/09/15 Page 5 of 6

Shl.'l.'15. Pari A - Judgml.'nt in a Criminal Case with Sllp~r\'isl.'d Rdeas~ (Re\'. 11/2011)                                                   Judglll1,:nl !lag\..":' or 6
DEFENDANT:            ANTONIO          LAMAR COOPER                                                              CASE NUMBER: GJII-8-14-CR-00083-00                I


                                                  CRIMINAL                   MONETARY                    PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                            Assessment                                                 Fine                                   Restitution
 TOTALS                $ 200.00                                                   S Waived                                  $ 450.55
 o        CVB Processing Fcc $25.00



 o        The determination of restitution is ddcrn:d until ( hd .. ,h..n'         II} .II!~T I ,11k.   An Amt!l1£h!d.ludxml!nl ill a Criminal Casl! (AO 2-15C)
                                                                                                        will be entered aner such determination.

 o        The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment. each payee shall receive an approximately propol1ioned payment. unless specified
      othef\\/ise in the priority order or percentage payment column below. However. pursuant to 18 U.S.C. ~ 36~..J(i). allnonfederal
      victims must be paid before the United States is paid.
         Name of Pa\'ee                     Total Loss*                 Restitution Ordered              Prinrih' or Percentage
 Clerk. US District Court                               450.55                           450.55
 6500 Cherrywood Lane
 Suite 200
 Greenbelt. Maryland 20770




 TOTALS                                     $                         450.55              $                        450.55


 o      Restitution amount ordered pmsuant to plea agreement
                                                                                    -----------
 o      The defendant must pay interest on restitution and a line or more than 51.500. unless the restitution or fine is paid in full
        before the fifteenth day after the date of the judgment. pursuant to 18 U.S.C. ~ 3612(1). All of the payment options 011 Sheet ()
        may be subject to pellalties for delinquency and default. pursuant to 18 U.S.c. ~ 3612(g).

 o      The court determined that the defendant docs not have the ability to pay interest and it is ordered that:

        o     the interest requirement is waived for the                 0      fine       o      restitution

        o the interest requirement for the 0 fine       0 restitution is Illodilied as follows:
 * Findings for the total amount of losses arc required under Chaplers 109A. 110. IIOA. and 113A of Tille IS Itlf ofTenses
 committed on or after September 13. 1994. but before April 23. 1996.
                         Case 8:14-cr-00083-GJH Document 150 Filed 07/09/15 Page 6 of 6
Shl"l"1(). Judgment in a Criminal Ca.>;ewith Super\'isl"d Release (Rev. 1112(11)                                                             Juugtlll"llt Page () of 6
DEFENDANT: ANTONIO LAMAR COOPER                                                                       CASE NUMBER:              GJII-8-14-CR-00083-001


                                                         SCHEDULE OF PAYMENTS
    Payments shall be applied in the following order: ( I) assessment. (2) restitution principal. (3) restitution interest. (4) line principal.
    (5) fine interest, (6) community restitution. (7) penalties. and (8) costs. including cost of prosecution and court costs.


       Payment or tile total line and other criminal monetary penalties shall be due as follows:

A      0 In full immediately:        or


B      ~    Speeial Assessment       in the amount 01'5      200,00                due immediately

C      0 Not laterthan                 : or

D      0 Installments      to commence                  day(s) after the date ofthisjudgmenl.

E      ~   In Monthlv            (e.g eqllal week()', mO/ll/'(\', qllarter(\') installments          of 5   100.00 to commence "hen the defendant is
           placed on supervised release.

The defendant will receive credit for all payments previously made toward any criminal                      monetary   penalties imposed.

Unless the court expressly orders otherwise. if this judgment imposes a period of imprisonment. payment of criminal monetary
penalties shall be due during the period of imprisollment. All criminal monetary penalties. except those payments made through the
Bureau of Prisons Inmate Financial Responsibility Program. are to be made to the Clerk of the Court.

If the entire amount of criminal          monetary   penalties is not paid prior to the commencement          of supervision.     the balance shall be paid:

       D    in equal monthly installments during the term of supervision; or

       o    on a nominal payment schedule ofS                       per month during the term of supervision.

The U.S. probation otlicer may recommend                a modification      of the payment schedule depending on the defendant's          financial
circumstances.


Special instructions regarding the payment of criminal monetary penalties:

~      Joint and Several

     5450.55 - Joint and Several with -Juwan Armarni                    Watkins (GJH 14-cr-0083-002):        Maurice   l.orenzo    Foreman (GJH 14-cr-0083-
003): Eugene Robert Watkins (GJH 14-cr-0083-004)




o      The defendant    shall pay the cost of prosecution.

o      The defendant    shall pay the following        court cost(s):

o      The defendant    shall forfeit the defendant's        interest in the following property to the United Stales:
